        Case 1:18-cv-10819-LTS Document 81 Filed 03/27/20 Page 1 of 13




                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


                                                     CIVIL ACTION NO. 1:18-cv-10819



 DONNA GAVIN

                   Plaintiff,

                  v.

 CITY OF BOSTON and MARK HAYES
              Defendants.




DEFENDANT, CITY OF BOSTON’S ANSWER TO PLAINTIFF’S SECOND AMENDED
              COMPLAINT WITH AFFIRMATIVE DEFENSES


        Now comes the Defendant, City of Boston (“the Defendant Boston”), and answers the
Plaintiff, Donna Gavin (“Plaintiff”) as follows:

                                  I.         Nature of the Action

   1. Paragraph 1 contains legal conclusions to which no response is required from the City of
      Boston (“the Defendant Boston”). To the extent a response is required Defendant Boston
      any wrongdoing.

                                       II.       The Parties

   2. Defendant Boston admits the allegations set forth in Paragraph 2 of the Complaint.

   3. Defendant Boston admits the allegations set forth in Paragraph 3 of the Complaint.

   4. Defendant Boston admits that Mark Hayes is an employee of the Boston Police Department
      whose office is located at One Schroeder Plaza, Boston, MA.




                                                                                            1
             Case 1:18-cv-10819-LTS Document 81 Filed 03/27/20 Page 2 of 13



                                                      III.    Venue

      5. Defendant Boston admits the allegations set forth in Paragraph 5 of the Complaint1.

                                                   IV.       The Facts

      6. Defendant Boston admits the allegations set forth in Paragraph 6 of the Complaint.

      7. Defendant Boston admits that Plaintiff is the only female Lieutenant Detective currently
         employed by the Boston Police Department. Defendant denies the remaining allegations
         set forth in Paragraph 7 of the Complaint.

      8. Defendant Boston is without sufficient knowledge or information as to whether Plaintiff
         performed her job in a satisfactory manner. Defendant admits the remaining allegations
         set forth in Paragraph 8 of the Complaint.

      9.    Defendant Boston admits that Plaintiff was included in an e-mail sent on May 11, 2016
           announcing her promotion.

      10. Defendant Boston states that Captain Hayes was Plaintiff’s direct supervisor at all times
          until June 2017. Defendant is without sufficient knowledge or information to form a belief
          as to whether “Hayes in fact continued to supervise her in many respects”. Defendant
          Boston admits the remaining allegations set forth in Paragraph 10 of the Complaint.

      11. Defendant Boston is without sufficient knowledge or information to form a belief as to the
          truth of the allegations set forth in Paragraph 11 of the Complaint.

      12. Defendant Boston admits the allegations set forth in Paragraph 12 of the Complaint.

      13. Defendant Boston admits that both the Human Trafficking and Crimes Against Children
          Units are located at the Family Justice Center. Defendant Boston admits that the Suffolk
          County District Attorney’s Office Children’s Advocacy Center is also located at the Family
          Justice Center. Defendant Boston admits that Captain Hayes along with two other
          Lieutenant Detectives worked at the Family Justice Center. Defendant Boston admits that
          the Crimes Against Children Unit is staffed with two sergeant detectives, one of which was
          overseeing the Human Trafficking Unit prior to Plaintiff’s arrival. Defendant Boston is
          without sufficient knowledge or information to form a belief as to the remaining allegations
          set forth in Paragraph 13 of the Complaint.

      14. Defendant Boston admits that Plaintiff was initially assigned to a cubicle when she was
          transferred to the Family Justice Center. Defendant Boston denies the remaining
          allegations set forth in Paragraph 14 of the Complaint.




1
    Defendants removed this case to the United States District Court of Massachusetts on April 27, 2018.

                                                                                                           2
     Case 1:18-cv-10819-LTS Document 81 Filed 03/27/20 Page 3 of 13



15. Defendant Boston admits that at the time Plaintiff was transferred the two other male
    Lieutenant Detectives had private offices. Defendant denies the characterization that they
    were “large” offices.

16. Defendant Boston admits that Plaintiff assumed command of the Human Trafficking and
    Crimes Against Children Units in May 2016. Defendant Boston denies the remaining
    allegations set forth in Paragraph 16 of the Complaint.

17. Defendant Boston admits that Detective Jerrod Gero was assigned to the Human
    Trafficking Unit on or about May, 2016. Defendant Boston denies the remaining
    allegations set forth in Paragraph 17 of the Complaint.

18. Defendant Boston does not have sufficient knowledge or information to form a belief as to
    the truth of the allegations set forth in Paragraph 18 of the Complaint.

19. Defendant Boston admits the allegations set forth in Paragraph 19 of the Complaint.

20. Defendant Boston admits that Plaintiff expressed that she wanted more diversity in the unit.
    Defendant Boston further admits that Plaintiff sent an e-mail stating that an African-
    American detective expressed interest in a transfer. Defendant Boston does not have
    sufficient knowledge or information to form a belief as to the remaining allegations set
    forth in Paragraph 20 of the Complaint.

21. Defendant Boston admits that Sergeant Brian Miller was one of Plaintiff’s subordinates.
    Defendant Boston denies the remaining allegations set forth in Paragraph 21 of the
    Complaint.

22. Defendant Boston does not have sufficient knowledge or information to form a belief as to
    the truth of the allegations set forth in Paragraph 22 of the Complaint.

23. Defendant Boston admits the allegations set forth in Paragraph 23 of the Complaint.

24. Defendant Boston admits that Plaintiff did not agree with the transfer out of the two female
    detectives. Defendant Boston admits that one of the detectives had been awarded detective
    of the year. Defendant Boston denies that Plaintiff’s concerns about personnel transfers
    were ignored. Defendant Boston does not have sufficient knowledge or information to form
    a belief as to the remaining allegations set forth in Paragraph 24 of the Complaint.

25. Defendant Boston does not have sufficient knowledge or information to form a belief as to
    the allegations set forth in Paragraph 25 of the Complaint.

26. Defendant Boston admits the factual allegations set forth in Paragraph 26 of the Complaint.
    Defendant Boston denies the characterization that Defendant Hayes “threatened” Plaintiff.

27. Defendant Boston is without sufficient knowledge or information to form a belief as to the
    truth of the allegations set forth in Paragraph 27 of the Complaint.

                                                                                              3
     Case 1:18-cv-10819-LTS Document 81 Filed 03/27/20 Page 4 of 13




28. Defendant Boston admits that Captain Hayes sent an e-mail on December 21, 2016
    concerning a pending case. Defendant admits that several people were included in the e-
    mail, including outside agencies and both superiors and subordinates of the Plaintiff’s.
    Defendant Boston is without sufficient knowledge or information to form a belief as to the
    remaining allegations set forth in Paragraph 28 of the Complaint.

29. Defendant Boston is without sufficient knowledge or information to form a belief as to the
    truth of the allegations set forth in Paragraph 29 of the Complaint.

30. Defendant Boston is without sufficient knowledge or information to form a belief as to the
    truth of the allegations set forth in Paragraph 30 of the Complaint.

31. Defendant Boston admits the allegations set forth in Paragraph 31 of the Complaint.

32. Defendant Boston denies that it is “out of the norm” for a division commander to review
    the work of a unit in its command. Defendant Boston is without sufficient knowledge or
    information to form a belief as to the truth of the remaining allegations set forth in
    Paragraph 32 of the Complaint.

33. Defendant Boston admits that an architect visited the Family Justice Center for the purpose
    of designing and building an office for Plaintiff as well as an interview room on several
    occasions. Defendant Boston is without sufficient knowledge or information to form a
    belief as to the remaining allegations set forth in Paragraph 33 of the Complaint.

34. Defendant Boston is without sufficient knowledge or information to form a belief as to the
    truth of the allegations set forth in Paragraph 34 of the Complaint.

35. Defendant Boston admits the allegations set forth in Paragraph 35 of the Complaint.

36. Defendant Boston admits that Plaintiff’s union contacted the Boston Police Department to
    express Plaintiff’s concerns about her office. Defendant Boston is without sufficient
    knowledge or information to form a belief as to the remaining allegations set forth in
    Paragraph 36 of the Complaint.

37. Defendant Boston admits that a Sergeant was transferred to the Human Trafficking Unit in
    March 2017. Defendant Boston denies the transfer was done by Captain Hayes. Defendant
    Boston is without sufficient knowledge or information to form a belief as to the remaining
    allegations set forth in Paragraph 37 of the Complaint.

38. Defendant Boston admits that Plaintiff’s position was created. Defendant Boston is
    without sufficient knowledge or information to form a belief as to the remaining allegations
    set forth in Paragraph 38 of the Complaint. Defendant Boston denies any wrongdoing.

39. Defendant Boston is without sufficient knowledge or information to form a belief as to the
    allegations set forth in Paragraph 39 of the Complaint.

                                                                                              4
     Case 1:18-cv-10819-LTS Document 81 Filed 03/27/20 Page 5 of 13




40. Defendant Boston admits that facilities maintenance returned to the Family Justice Center
    on several occasions. Defendant Boston is without sufficient knowledge or information to
    form a belief as to the remaining allegations set forth in Paragraph 40 of the Complaint.

41. Defendant Boston admits that space was identified for Plaintiff’s office based on
    availability. Defendant Boston is without sufficient knowledge or information to form a
    belief as to the truth of the remaining allegations set forth in Paragraph 41 of the Complaint.

42. Defendant Boston admits that Plaintiff rejected the proposed office space and that Facilities
    Maintenance returned to the Family Justice Center. Defendant Boston denies the
    remaining allegations set forth in Paragraph 42 of the Complaint.

43. Defendant Boston admits that Captain Hayes conducted a review of cases from 2015
    through March 2017. Defendant Boston further admits that Captain Hayes agreed that the
    case review went well. Defendant Boston is without sufficient knowledge or information
    to form a belief as to the truth of the remaining allegations set forth in Paragraph 43 of the
    Complaint.

44. Defendant Boston is without sufficient knowledge or information to form a belief as to the
    truth of the allegations set forth in Paragraph 44 of the Complaint.

45. Defendant Boston admits that on or about March, 30 2017 Captain Hayes sent in which
    Plaintiff was included in and cc’d both her superiors and subordinates.

46. Defendant Boston admits the allegations set forth in Paragraph 46 of the Complaint.

47. Defendant Boston admits that Captain Hayes replied to Plaintiff’s e-mail on or about April
    2, 2017. Defendant Boston further states that the e-mail portions included in Paragraph 47
    of the Complaint do not reflect the entire contents of the e-mail sent by Captain Hayes on
    or about April 2, 2017.

48. Defendant Boston admits that both Plaintiff’s superiors and her subordinates were cc’d in
    the April 2, 2017 e-mail sent by Captain Hayes. Defendant Boston is without sufficient
    knowledge or information to form a belief as to the remaining allegations set forth in
    Paragraph 48 of the Complaint.

49. Defendant Boston admits that Captain Hayes reviewed files from the Human Trafficking
    Unit. Defendant Boston is without sufficient knowledge or information to form a belief as
    to the allegations set forth in Paragraph 49 of the Complaint.

50. Defendant Boston admits the allegations set forth in Paragraph 50 of the Complaint.

51. Defendant Boston admits that Plaintiff and her attorneys met with Internal Affairs on April
    27, 2017 and that the Deputy Director of Human Resources for the Boston Police
    Department was present. Defendant Boston admits that Superintendent Frank Mancini was

                                                                                                 5
     Case 1:18-cv-10819-LTS Document 81 Filed 03/27/20 Page 6 of 13



   in charge of the Boston Police Departments Bureau of Professional Standards. Defendant
   Boston is without sufficient knowledge or information to form a belief as to the remaining
   allegations set forth in Paragraph 51 of the Complaint.

52. Defendant Boston is without sufficient knowledge or information to form a belief as to the
    truth of the allegations set forth in Paragraph 52 of the Complaint.

53. Defendant Boston is without sufficient knowledge or information to form a belief as to the
    truth of the allegations set forth in Paragraph 53 of the Complaint.

54. Defendant Boston is without sufficient knowledge or information to form a belief as to the
    truth of the allegations set forth in Paragraph 54 of the Complaint.

55. Defendant Boston admits that Plaintiff e-mailed Deputy Superintendent Ayala and Captain
    Hayes. Defendant Boston is without sufficient knowledge or information to form a belief
    as to the truth of the remaining allegations set forth in Paragraph 55 of the Complaint.
    Defendant Boston denies any wrongdoing.

56. Defendant Boston is without sufficient knowledge or information to form a belief as to the
    truth of the allegations set forth in Paragraph 56 of the Complaint.

57. Defendant Boston is without sufficient knowledge or information to form a belief as to the
    truth of the allegations set forth in Paragraph 57 of the Complaint.

58. Defendant Boston admits that Deputy Superintendent Ayala contacted Plaintiff on May 8,
    2017 to inform her that Sgt. Det. Miller would not be writing a report regarding a particular
    operation. Defendant Boston denies the remaining allegations set forth in Paragraph 58 of
    the Complaint.

59. Defendant Boston admits that Captain Hayes filed an IAD Complaint against Plaintiff.
    Defendant Boston is without sufficient knowledge or information to form a belief as to the
    remaining allegations set forth in Paragraph 59 of the Complaint.

60. Defendant Boston admits that as of May 2017, Plaintiff began reporting to Deputy
    Superintendent Ayala. Defendant Boston is without sufficient knowledge or information
    to form a belief as to the remaining allegations set forth in Paragraph 60 of the Complaint.

61. Defendant Boston admits the allegations set forth in Paragraph 61 of the Complaint.
    Defendant Boston also states that Paragraph 61 of the Complaint does not reflect the entire
    content of the email sent by Captain Hayes.

62. Defendant Boston is without sufficient knowledge or information to form a belief as to the
    truth of the allegations set forth in Paragraph 62 of the Complaint.

63. Defendant Boston is without sufficient knowledge or information to form a belief as to the
    truth of the allegations set forth in Paragraph 63 of the Complaint.

                                                                                               6
     Case 1:18-cv-10819-LTS Document 81 Filed 03/27/20 Page 7 of 13




64. Defendant Boston admits the allegations set forth in Paragraph 64 of the Complaint.

65. Defendant Boston admits that Plaintiff met with IAD on or about May 31, 2017. Defendant
    Boston is without sufficient knowledge or information to form a belief as to the truth of the
    remaining allegations set forth in Paragraph 65 of the Complaint.

66. Defendant Boston is without sufficient knowledge or information to form a belief as to the
    truth of the allegations set forth in Paragraph 66 of the Complaint.

67. Defendant Boston is without sufficient knowledge or information to form a belief as to the
    truth of the allegations set forth in Paragraph 67 of the Complaint.

68. Defendant Boston admits that there have been other IAD complaints filed against Plaintiff.
    Defendant Boston denies that the IAD complaints filed against the Plaintiff have been
    frivolous. Defendant Boston is without sufficient knowledge or information as to the truth
    of the remaining allegations set forth in Paragraph 68 of the Complaint.

69. Defendant Boston is without sufficient knowledge or information to form a belief as to the
    allegations set forth in Paragraph 69 of the Complaint.

70. Defendant Boston admits the Plaintiff was transferred to the Boston Police Academy on or
    about March 23, 2019. Defendant Boston admits that the Boston Police Academy does not
    fall under the investigative bureau. Defendant Boston denies any wrongdoing.

       a. Defendant Boston is without sufficient knowledge or information as to the truth of
          the allegations set forth in Paragraph 70(a) of the Complaint.

       b. Defendant Boston admits that Captain Detective Hayes was also transferred in or
          around March 23, 2019. Defendant Boston admits that Captain Detective Hayes’s
          was transferred to a position within the bureau of investigative services and that he
          is located at Boston Police Headquarters. Defendant Boston denies the remaining
          allegations set forth in Paragraph 70(b) of the Complaint.

                                  COUNT ONE
      Gender Discrimination and Hostile Work Environment Based on Gender
                       (Violation of M.G.L. c. 151B, §4[1])
                      (Against Boston Police Department)

71. Defendant Boston repeats and re-alleges its responses set forth in Paragraphs 1 through 70
    as if fully stated herein.

72. Defendant Boston denies the allegations set forth in Paragraph 72 of the Complaint.

73. Defendant Boston denies the allegations set forth in Paragraph 73 of the Complaint.



                                                                                               7
     Case 1:18-cv-10819-LTS Document 81 Filed 03/27/20 Page 8 of 13



                                    COUNT TWO
                                      Retaliation
                         (Violation of M.G.L. c. 151B, §4 [4])
                       (Against Mark Hayes and City of Boston)

74. Defendant Boston repeats and re-alleges its responses set forth in Paragraphs 1 through 73
    as if fully stated herein.

75. Paragraph 75 of the Complaint calls for legal conclusions to which no response is required.

76. Paragraph 76 of the Complaint calls for legal conclusions to which no response is required.

77. Paragraph 77 of the Complaint calls for legal conclusions to which no response is required.

78. Defendant Boston denies the allegations set forth in Paragraph 78 of the Complaint as to
    the City of Boston.

79. Defendant Boston denies the allegations set forth in Paragraph 79 of the Complaint as to
    the City of Boston.

                                  COUNT THREE
            Interference With The Right To Be Free From Discrimination
                        (Violation of M.G.L. c. 151B, §4 [4A])
                      (Against Mark Hayes and City of Boston)

80. Defendant Boston repeats and re-alleges its responses set forth in Paragraphs 1 through 79
    as if fully stated herein.

81. Paragraph 81 of the Complaint calls for legal conclusions to which no response is required.

82. Defendant Boston denies the allegations set forth in Paragraph 82 of the Complaint.

83. Defendant Boston denies the allegations set forth in Paragraph 83 of the Complaint.


                                    COUNT FOUR
                                  Aiding and Abetting
                          (Violation of M.G.L. c. 151B, §4 [5])
                                 (Against Mark Hayes)

84. Defendant Boston repeats and re-alleges its responses set forth in Paragraphs 1 through 83
    as if fully stated herein.

85. Paragraph 85 of the Complaint pertains to a different Defendant therefore no response is
    required from Defendant Boston.



                                                                                             8
     Case 1:18-cv-10819-LTS Document 81 Filed 03/27/20 Page 9 of 13



86. Paragraph 86 of the Complaint pertains to a different Defendant therefore no response is
    required from Defendant Boston.


                                  COUNT FIVE
     Gender Discrimination and Hostile Work Environment Based on Gender
                   (Violation of Title VII, 42 U.S.C. §2000e-2)
                            (Against City of Boston)

87. Defendant Boston repeats and re-alleges its responses set forth in Paragraphs 1 through 87
    as if fully stated herein.

88. Defendant Boston denies the allegations set forth in Paragraph 88 of the Complaint.

89. Defendant Boston denies the allegations set forth in Paragraph 89 of the Complaint.

                                     COUNT SIX
                                       Retaliation
                      (Violation of Title VII, 42 U.S.C. §2000e-3)
                               (Against City of Boston)

90. Defendant Boston repeats and re-alleges its responses set forth in Paragraphs 1 through 89
    as if fully stated herein.

91. Paragraph 91 of the Complaint contains legal conclusions to which no response is required.

92. Paragraph 92 of the Complaint contains legal conclusions to which no response is required.

93. Paragraph 93 of the Complaint contains legal conclusions to which no response is required.

94. Defendant Boston denies the allegations set forth in Paragraph 94 of the Complaint.

95. Defendant Boston denies the allegations set forth in Paragraph 95 of the Complaint.




                                                                                            9
        Case 1:18-cv-10819-LTS Document 81 Filed 03/27/20 Page 10 of 13



                                 AFFIRMATIVE DEFENSES

                                          First Defense

       The Plaintiff has failed to state a claim or claims upon which relief can be granted.

                                        Second Defense

       Every action taken by the Defendant Boston with respect to Plaintiff’s employment was

taken for one or more legitimate, non-discriminatory reasons.

                                         Third Defense

       The Plaintiff has failed to present sufficient evidence upon which a fact-finder could form

a reasonable belief that it is more probable than not that the Defendant Boston committed an

unlawful practice.

                                        Fourth Defense

       The Plaintiff failed to establish a prima facie case with respect to claims made based upon

discrimination or retaliation.

                                          Fifth Defense

       The Plaintiff has failed to mitigate her damages.

                                         Sixth Defense

       Every action taken by the Defendant Boston and/or its employees was lawful and

performed according to, and protected by, law and/or legal process, and therefore, the Plaintiff

cannot recover.

                                        Seventh Defense

       Plaintiff’s damages, if any, were caused in whole or in part by her own actions and/or

inactions.




                                                                                                10
        Case 1:18-cv-10819-LTS Document 81 Filed 03/27/20 Page 11 of 13



                                         Eighth Defense

       Plaintiff’s claims are barred in whole or in part by the doctrines of estoppel, equitable

estoppel and/or waiver.

                                         Ninth Defense

       Plaintiff’s claims are barred in whole or in part by her failure to file a charge of

discrimination on a timely basis with the MCAD or EEOC.

                                         Tenth Defense

       Any injury or deprivation suffered by the Plaintiff was caused in whole or in part by the

actions of a person or persons over whom the Defendant Boston had no control and for whom the

Defendant Boston is not responsible and/or was acting outside the scope of his employment.

                                        Eleventh Defense

       The Plaintiff’s claims are barred in whole or in part by the Massachusetts Workers

Compensation law.

                                        Twelfth Defense

       The Plaintiff has failed to state, and cannot show, the required elements for a claim of

sexual harassment, discrimination and/or retaliation.

                                       Thirteenth Defense

       The Defendant Boston exercised reasonable care to prevent and promptly correct the

alleged harassing, discriminatory and/or retaliatory behavior.

                                      Fourteenth Defense

       The Plaintiff unreasonably failed to take advantage of any preventative or corrective

opportunities provided by the Defendant Boston or to otherwise avoid harm.




                                                                                             11
            Case 1:18-cv-10819-LTS Document 81 Filed 03/27/20 Page 12 of 13



                                         Fifteenth Defense

        Upon learning about the allegations, the Defendant Boston took immediate, reasonable and

appropriate corrective action.

                                         Sixteenth Defense


        Plaintiff’s claims are barred in whole or in part by the applicable statute of limitations

and/or by her failure to satisfy administrative prerequisites in a timely manner prior to filing suit

in court.


                                       Seventeenth Defense


        The Defendant reserves the right to raise additional affirmative defenses as additional

information becomes available through discovery.


                                 DEMAND FOR JURY TRIAL

        The Defendant Boston hereby demands a trial by jury on all issues so triable.


                                       Respectfully submitted,

                                       DEFENDANT CITY OF BOSTON

                                       by its attorney:

                                       Eugene L. O’Flaherty
                                       Corporation Counsel


                                       /s/ Erika P. Reis
                                       Erika P. Reis (BBO# 669930)
                                       Senior Assistant Corporation Counsel
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                                                                                                     12
        Case 1:18-cv-10819-LTS Document 81 Filed 03/27/20 Page 13 of 13




                                 CERTIFICATE OF SERVICE


         I, Erika P. Reis, hereby certify that I served a true copy of the above document all parties
of record via this court’s electronic filing system and upon those non-registered participants via
first class mail.

March 27, 2020                                 /s/ Erika P. Reis




                                                                                                   13
